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                      Case No. 4:17-CV-01222



           IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF TEXAS
                    HOUSTON DIVISION

                In re Technicool Systems, Inc., Debtor

      On appeal from the United States Bankruptcy Court for the
            Southern District of Texas, Houston Division

                Bankruptcy Case No. 15-34435-H1-7
                  Civil Action No. 4:17-cv-0122




      BRIEF OF APPELLEE LOWELL T. CAGE, TRUSTEE


                                       TIMOTHY L. WENTWORTH
                                       State Bar No. 21179000
                                       VIANEY GARZA
                                       State Bar No. 24083057
                                       CAGE, HILL & NIEHAUS, L.L.P.
                                       5851 San Felipe, Suite 950
                                       Houston, Texas 77057
                                       Telephone: (713) 789-0500
                                       Telecopier: (713) 974-0344
                                       tim.wentworth@cagehill.com
                                       ATTORNEYS FOR
                                       LOWELL T. CAGE, TRUSTEE



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            BRIEF OF APPELLEE LOWELL T. CAGE, TRUSTEE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

      COMES NOW, Lowell T. Cage, Trustee (the “Trustee”) of the bankruptcy

estate of Technicool Systems, Inc. (the “Debtor”), Appellee herein, and responds to

Appellant’s Brief filed by Robert Furlough (“Furlough”), and represents as follows:

                                 I.   STATEMENT OF ISSUES

      (1)    Did the bankruptcy court impermissibly err when it held that Robert
             Furlough lacked standing to object to the trustee’s employment of
             Stacy?

      (2)    Does the bankruptcy court’s order authorizing the Trustee’s
             employment of Stacy impermissibly violate § 327(a)’s requirements
             that the Trustee’s attorneys “not hold or represent an interest adverse to
             the estate” and that the Trustee’s attorneys “are disinterested persons”?

      (3)    In allowing NOV to proceed with its state court claim against Robert
             Furlough, did the bankruptcy court impermissibly find that the state
             court cause of action was not owned by the bankruptcy estate, and
             therefore not a violation of the bankruptcy’s automatic stay or a conflict
             under § 327(a)?

                         II.      STATEMENT OF JURISDICTION

      This Court has jurisdiction of this bankruptcy appeal pursuant to 28 U.S.C. §

158(a).

                               III.   STANDARD OF REVIEW

      An appeal from a Bankruptcy Court to a District Court is “taken in the same

manner as appeals in civil proceedings generally are taken to the courts of appeals

from the district courts.” Young v. DiFerrante (In re Walker Grain Co.), 416 B.R.
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612, 615 (S.D. Tex. 2009). Accordingly, when reviewing a bankruptcy court’s

decision, this Court “applies the standard of review generally used in the federal

court of appeals.” Range v. United States, 256 B.R. 868, 872 (S.D. Tex. 2000).

Matters of law are reviewed de novo, which “requires the District Court to make a

judgment independent of the bankruptcy court and without deference to that court’s

analysis and conclusions.” Id. at 873. In particular, this Court must review a

bankruptcy court’s summary judgment de novo. Zer-llan v. Frankford (In re CPDC,

Inc.), 337 F.3d 436, 440–41 (5th Cir. 2003).

      The district court reviews the bankruptcy court’s findings of fact for clear

error. Cont’l Illinois Nat’l Bank & Trust Co. of Chicago v. Charles N. Wooten, Ltd.

(In re Evangeline Ref. Co.), 890 F.2d 1312, 1325 (5th Cir. 1989). A bankruptcy

court’s findings of fact are subject to the clearly erroneous standard of review and

will be reversed only if, considering all the evidence, the Court is left with the

definite and firm conviction that a mistake has been made. Young v. Nat’l Union

Fire Ins. Co. of Pittsburg, PA (In re Young), 995 F.2d 547, 548 (5th Cir. 1993).

                                    IV.   FACTS

      This is an appeal of an Order Approving Employment of Special Counsel

entered by the Bankruptcy Court on April 4, 2017 [Docket No. 96].

      The Debtor was engaged in the business of manufacturing and selling

industrial-strength custom HVAC units for use in the oil and gas industry. The

Debtor was owned and controlled by Robert Furlough, the Appellant.
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      The bankruptcy estate’s largest creditor is National Oilwell Varco, L.P.

(“NOV”). Prior to bankruptcy, NOV filed suit in state court against the Debtor

alleging breach of warranty and negligent misrepresentation relating to HVAC units

the Debtor built for NOV. This suit was pending when the Debtor’s bankruptcy case

was filed.

      The state court lawsuit filed by NOV initially named the Debtor as a

defendant. As against the Debtor, the state court lawsuit was stayed upon the

Debtor’s bankruptcy filing. NOV, seeking to continue its lawsuit against Furlough,

filed a Motion for Relief from Stay on September 16, 2015 [Docket No. 9]. The

Trustee filed an objection to NOV’s motion, asserting that NOV’s claims against

Furlough may be property of the bankruptcy estate in whole or in part. See S.I.

Acquisition, Inc. v. Eastway Delivery Serv., Inc. (In re S.I. Acquisition, Inc.), 817

F.2d 1142 (5th Cir. 1987). In response, NOV asserted that the claims it intended to

pursue were personal to NOV and were not property of the bankruptcy estate. After

an evidentiary hearing attended by the Trustee’s counsel and Furlough’s counsel, the

Bankruptcy Court entered an Order Modifying Stay on November 1, 2015 [Docket

No. 38] that provided:

      The suit against Mr. Furlough may not allege any cause of action for
      damages suffered directly or indirectly by the Estate, or that otherwise
      are Estate property. Violations of this paragraph will be treated as
      violations of the automatic stay and may subject National Oil Well
      Varco to actual and punitive damages.

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Thereafter, NOV continued to prosecute its lawsuit against Furlough in state court.

      Through discovery conducted by NOV and the Trustee, it was learned that

Furlough had formed other companies, including WorldFab and Safe-T-Cool, with

the purpose of doing the same or similar business as the Debtor. A close relationship

between the Debtor, WorldFab and Safe-T-Cool is shown by the following facts:

      (1)    Joint control of the entities by Furlough and his son-in-law Jeff
             Huckaby (“Huckaby”);

      (2)    Sharing of offices, warehouse space, employees, accountants, office
             equipment, warehouse equipment, supplies, etc.;

      (3)    Intercompany loans that were rarely paid back;

      (4)    Diversion of corporate assets to the principals of the entities;

      (5)    Sham transactions between the various entities.

      The Trustee determined that these facts and others gave rise to causes of action

against WorldFab, Safe-T-Cool, Furlough and Huckaby for consolidation of the

corporate entities, piercing the corporate veil and turnover of property ostensibly

owned by WorldFab, Safe-T-Cool, Furlough and Huckaby.

      To prosecute this action, the Trustee filed his Application for Authorization

to Retain and Employ Special Counsel (the “Application”) seeking to retain Chris

A. Stacy of Stacy & Baker, P.C. (“Stacy“) as special counsel on January 31, 2017

[Docket No. 72]. Stacy is the current attorney for NOV, and concurrently is handling

the state court action against Furlough and Huckaby. Furlough filed an objection to

the Trustee’s Application, and the Bankruptcy Court held a hearing on April 4, 2017,
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at which time the Court overruled Furlough’s objection and approved employment

of Stacy as the Trustee’s counsel.

      In his recitation of facts, Furlough mischaracterizes the Trustee’s prior lawsuit

against him. In that suit, Cage v. Furlough and Worldfab, Inc., Adversary No. 16-

3022, the Trustee alleged that Furlough had orchestrated the removal of property of

the bankruptcy estate from the Debtor’s premises just days before the bankruptcy

filing. Furlough’s assertion that the Trustee “took nothing” on his damages claim

overlooks the fact that Furlough, by not filing an answer, never denied the Trustee’s

allegations, and that the Agreed Judgment provided for full turnover of all property

unlawfully transferred by Furlough.

                                     V.   DISCUSSION

      As a threshold matter, the Court must decide whether Furlough has standing

to object to the Trustee’s application to employ Stacy. As the Trustee argued below

and espouses now, Furlough lacks standing to object to the employment under the

Bankruptcy Code. The authority invoked by the Trustee to retain Stacy as counsel

derives from § 327(a) of the Bankruptcy Code which states:

      Except as otherwise provided in this section, the trustee, with the
      court’s approval, may employ one or more attorneys, accountants,
      appraisers, auctioneers, or other professional persons, that do not hold
      or represent an interest adverse to the estate, and that are disinterested
      persons, to represent or assist the trustee in carrying out the trustee’s
      duties under this title.


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        Importantly,   §   327(c)    provides    the   following    exception    to   the

“disinterestedness” requirement of 327(a):

        In a case under chapter 7, 12, or 11 of this title, a person is not
        disqualified for employment under this section solely because of such
        person’s employment by or representation of a creditor, unless there is
        objection by another creditor or the United States trustee, in which case
        the court shall disapprove such employment if there is an actual conflict
        of interest.

(emphasis added)

        Accordingly, in the case of an attorney concurrently representing a creditor,

that attorney is only disqualified if there is an objection by another creditor and an

“actual conflict of interest.”

   A.      Because Furlough has no interest in the bankruptcy estate, the
           Bankruptcy Court did not err when it found that he lacked standing
           to object to the Trustee’s employment of Stacy.

        To begin, Furlough lacks standing to object to the Trustee’s application to

employ because he is not “another creditor.” The term “creditor” is defined under

the Bankruptcy Code as:

        (A)   an entity that has a claim against the debtor that arose at the time of or
              before the order for relief concerning the debtor;

        (B)   an entity that has a claim against the estate of a kind specified in section
              348(d), 502(f), 502(g), 502(h) or 502(i) of this title; or

        (C)   an entity that has a community claim.

11 U.S.C. § 101(10). Furlough does not fall within this definition. Not only was

Furlough was not listed as a creditor on the Debtor’s sworn schedules (signed under
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oath by Furlough), Furlough also never filed a claim in the case. Hence, Furlough

is not a creditor in this case1 as the Bankruptcy Court so found.2

        Even if there was not a specific statutory requirement that the objecting party

be a “creditor,” Furlough would lack standing to object to the Application because

he is not a “party in interest.” Generally, a party in interest is a person “whose

pecuniary interests are directly affected by the bankruptcy proceedings.” Yadkin

Valley Bank & Trust Co. v. McGee (In re Hutchinson), 5 F.3d 750, 756 (4th Cir.

1993). The Fifth Circuit has held that the term includes any creditor of the debtor

“as well as any other person with a sufficient stake in [the] outcome of a [bankruptcy]

proceeding so as to require representation.” Int’l Transactions, Ltd. v.

Embotelladora Agral Regiomontana, S.A. de C.V., 347 F.3d 589, 595 (5th Cir.

2003). Furlough has no stake in the outcome of the bankruptcy proceeding because

he “has no interest in the manner of distribution of the assets of the estate among his

creditors.” Gregg Grain Co. v. Walker Grain Co., 285 F. 156, 157 (5th Cir. 1922)

(citation omitted).




1 Furlough may be an equity security holder, a term defined separately from a “creditor.” See 11 U.S.C. § 101(17).
Accordingly, even if the bankruptcy estate were solvent, Furlough would not have standing to object under § 327(c).
2 On August 8, 2017, Furlough filed a “Transfer of Claim Other than for Security,” which purports to memorialize
Furlough’s acquisition of a claim filed in this case by Knape Associates. Furlough may attempt to argue that this
belated claim acquisition retroactively gives him standing in connection with the Bankruptcy Court’s order currently
on appeal. It does not. At the time of the Bankruptcy Court’s order, Furlough was not a creditor. Further, an
assignee who acquires a claim for an improper purpose should not be allowed to step into the shoes of the assignor.
In re Geriatrics Nursing Home, Inc., 195 B.R. 34, 38 (Bankr. D.N.J. 1996); Eresian v. Scheffer (In re Scheffer), 450
B.R. 271, 275 (Bankr. D. Mass. 2011), aff'd, No. CIV.A. 4:11-40130, 2012 WL 160074 (D. Mass. Jan. 17, 2012).

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   B.      The Bankruptcy Court did not err in finding that Stacy met the
           requirements of § 327(a) regarding disinterestedness and adverse
           interest.

        Despite Furlough’s efforts to create hypotheticals to show Stacy might

someday, in some way become conflicted, he has wholly failed to show that the

Bankruptcy Court erred when it found that Stacy was disinterested. Furlough first

contends that Stacy’s retention as counsel for Trustee should be set aside because

Stacy has violated the Texas Disciplinary Rules of Professional Conduct for

attorneys, specifically Tex. Disciplinary Rules of Prof’l Conduct R. 1.06, reprinted

in Tex. Gov’t Code Ann., tit. 2, subtit. G, app. A (West 2017), that governs conflicts

of interest. According to Furlough, Stacy failed to obtain a written waiver of the

conflict of interest inherent in representing both NOV and the Trustee.

        First, as will be discussed below, there is no conflict of interest, hence no

requirement for a waiver. Second, Furlough is incorrect that Tex. Disciplinary Rules

of Prof’l Conduct R. 1.06 requires a written waiver of conflict. In fact, the comments

to Tex. Disciplinary Rules of Prof’l Conduct R. 1.06 state that “it is not required that

the disclosure and consent be in writing.” Tex. Disciplinary Rules of Prof’l Conduct

R. 1.06 n.8. While a written waiver may be lacking in this case, there is no evidence

before the Court that the Trustee and NOV have not actually waived any potential

conflicts of interest in compliance with the Tex. Disciplinary Rules of Prof’l

Conduct R. 1.06, assuming, arguendo, that such conflicts exist.


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      Pursuant to § 327(c), a creditor’s attorney may represent a bankruptcy trustee

so long as there is no “actual conflict of interest.” There is no such conflict in this

case. NOV’s and the Trustee’s positions are not adverse with respect to their

respective claims against Furlough and the other defendants. In each case, NOV and

the Trustee are seeking similar recoveries, albeit as separate plaintiffs seeking their

own damages. NOV and the Trustee are adverse only to the extent they may

eventually be awarded judgments against the same parties, and are thereafter placed

in competition for collection against the same defendants. However, even that

potential discordance has been addressed by the Trustee and NOV.

      On March 15, 2017, NOV authorized Stacy to execute a letter to the Trustee

(Trustee’s Exhibit 5) that provided the following:

      This confirms that my client, National Oilwell Varco, L.P. (“NOV”),
      agrees to transfer all funds received by way of recovery, whether by
      execution of judgment, settlement, or otherwise, in Cause No. 2014-
      65941-A, styled National Oilwell Varco, LP v. Robert Furlough, et al.,
      in the 125th Judicial District Court of Harris County, Texas, to you as
      Trustee in the above referenced bankruptcy for satisfaction of claims
      therein, up to and including the amount required to satisfy all proof of
      claims currently on file in the Debtor’s bankruptcy case, plus all
      allowed administrative expenses. Any recovery above such amount will
      remain the property of NOV and will not be transferred to you.

      By this letter, NOV agreed, without condition, to contribute all recoveries it

receives in the state court case to the Trustee for the payment of any and all claims

asserted in the bankruptcy case. NOV’s agreement to contribute its recovery means


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that NOV and the Trustee would no longer have competing judgments against the

defendants, and therefore would not be adverse to one another. In essence, the

agreement resolves any potential or actual conflict of interest. Importantly, this

agreement is also greatly beneficial to the bankruptcy estate.

      Furlough further hypothesizes that the Trustee may at some point want to

object to NOV’s claim and call Stacy as a witness, thereby creating a conflict.

However, courts have held that this does not create a disqualifying conflict under

Sections 327(a) and (c). In In re Pappas, 216 B.R. 87, 93 (Bankr. D. Conn. 1997),

the United States Trustee advanced the same argument, asserting that the creditor’s

claim may require an objection thereby creating a fatal conflict with the Trustee.

The Bankruptcy Court disagreed, stating that “if the mere possibility that some entity

might object to [a creditor’s] proof of claim provides a ground to deny the trustee

the opportunity to retain [that creditor’s] counsel, then… that would read § 327(c)

out of the Bankruptcy Code.” Id. at 93 n.4.

      Further, although it does not explicitly apply in this case, § 327(e) authorizes

a trustee to retain, as special counsel, an attorney who has represented the debtor, if

in the best interest of the estate. “Reasoning by analogy to section 327(e), several

courts have held that, where the trustee seeks to appoint counsel only as ‘special

counsel’ for a specific matter, there need only be no conflict between the trustee and

counsel’s creditor client with respect to the specific matter itself. Stoumbos v.

Kilimnik, 988 F.2d 949, 964 (9th Cir. 1993); In re Pappas, 216 B.R. at 92; see also
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In re Contractor Tech., Ltd., No. CIV.A. H-05-3212, 2006 WL 1492250, at *5 (S.D.

Tex. May 30, 2006).

       The Fifth Circuit has endorsed the following definition of the phrase

“represent or hold any interest adverse to the debtor or to the estate:”

       (1)    to possess or assert any economic interest that would tend to lessen the
              value of the bankruptcy estate or that would create either an actual or
              potential dispute in which the estate is a rival claimant; or

       (2)    to possess a predisposition under circumstances that render such a bias
              against the estate.

I.G. Petroleum, L.L.C. v. Fenasci (In re W. Delta Oil Co., Inc.), 432 F.3d 347, 356

(5th Cir. 2005); Waldron v. Adams & Reese, L.L.P. (In re Am. Int’l Refinery, Inc.),

676 F.3d 455 (5th Cir. 2012); In re Contractor Tech., 2006 WL 1492250, at *6.

Furlough has failed to identify how Stacy holds an adverse interest to the estate,

especially given NOV’s contribution to the bankruptcy estate of any recovery in the

state court action. While Furlough cites numerous provisions of the Texas rules

governing attorney conduct and the relevant bankruptcy statutes, Furlough has failed

to give even one example of where Stacy or NOV has an adverse interest, economic

or otherwise, to the estate under these circumstances. Not only is there no actual

conflict of interest, there is not even the potential for a conflict of interest.

       Furlough cites numerous cases for the proposition that the governing standard

in this case should be the avoidance of “the appearance of impropriety.” However,

by statute, the applicable standard is whether there is “an actual conflict of interest”

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pursuant to § 327(c). Many of the cases cited by Furlough do not concern § 327(c):

In re Martin, 817 F.2d 175, 180 (1st Cir. 1987); In re LTHM Houston-Operations,

LLC, No. 14-33899, 2014 WL 5449737, at *1 (Bankr. S.D. Tex. Oct. 24, 2014); In

re Gray, 64 B.R. 505 (Bankr. E.D. Mich. 1986).

        Further, the two cited cases that deal with § 327(c) are inapposite. In re

Micro-Time Mgmt. Sys., Inc., 102 B.R. 602 (Bankr. E.D. Mich. 1989), involved an

undisclosed relationship with a creditor, providing a strong basis in and of itself for

denial of fees. In Sturgeon State Bank v. Perky (In re Perkey), 194 B.R. 846 (Bankr.

W.D. Mo. 1996), the Trustee and creditor were already suing each other before the

Trustee attempted to retain the creditor’s counsel, thereby creating an “actual

conflict of interest” prohibited by § 327(c).

   C.      Whether the state court action violates the stay or is property of the
           estate is not before this Court.

        Furlough contends that NOV is in continuing violation of the automatic stay

in the state court action by prosecuting claims that belong to the bankruptcy estate.

However, the Bankruptcy Court lifted the stay for NOV to proceed in that suit, and

in the nineteen months since entry of that order Furlough never filed any pleading in

the Bankruptcy Court asserting that NOV violated the order or the automatic stay.

Further, the Bankruptcy Court has never entered any order that NOV has – or has

not – violated the automatic stay, or that it is prosecuting a cause of action that

belongs to the estate. Accordingly, Furlough’s assertion in this appeal that NOV is

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in violation of the automatic stay or is impermissibly prosecuting estate claims is

simply not before this Court in this appeal.

                                  VI.    CONCLUSION

      The record amply supports the Bankruptcy Court’s finding that Furlough

lacked standing to object to the Trustee’s application to retain counsel. Furlough is

not a creditor as required by § 327(c) and further has no stake in the outcome of

bankruptcy case. As a result of NOV’s contribution to the estate of any recovery it

receives in the state court, there is no actual or potential conflict of interest between

Stacy and the Trustee. Assuming, arguendo, that there is the potential conflict, there

is no evidence before the court that the parties have not waived the conflict. Finally,

whether NOV’s claims in the state court belong to the bankruptcy estate or violate

the stay are not before this Court since the Bankruptcy Court has never properly

considered that issue. Accordingly, the Trustee requests that Bankruptcy Court’s

Order be affirmed, and that he be granted such other and further relief to which he

may be entitled.




                              [Signature Page Follows]




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                                             Respectfully submitted,

                                             /s/ Timothy L. Wentworth
                                             TIMOTHY L. WENTWORTH
                                             TBN 21179000


OF COUNSEL:

CAGE, HILL & NIEHAUS, L.L.P.
5851 San Felipe, Suite 950
Houston, TX 77057
(713) 789-0500
ATTORNEYS FOR
LOWELL T. CAGE, TRUSTEE


                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Trustee’s
Appellate Brief was served by electronic service or by U.S. Mail postage prepaid on
the 24th day of August, 2017, on counsel for Defendant Annie E. Catmull, Hoover
Slovacek, LLP, 5051 Westheimer, Suite 1200, Houston, TX 77056.


                                             /s/ Timothy L. Wentworth
                                             TIMOTHY L. WENTWORTH




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